                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA


United States of America,                              Crim. No. 21-108(1) (PAM/TNL)

                            Plaintiff,

v.                                                                              ORDER

Derek Chauvin,

                        Defendant.
        ___________________________________________________________

       This matter is before the Court on Defendant’s guilty plea in this matter. At the

change-of-plea hearing, the Court deferred accepting Defendant’s plea pending issuance

of the preliminary presentence investigation report. That report has now issued, and

acceptance of the plea is appropriate.

       Accordingly, IT IS HEREBY ORDERED that:

       1.     The plea agreement (Docket No. 142) is ACCEPTED; and

       2.     Pursuant to Fed. R. Crim. P. 11(c)(1)(C), the Court will sentence Defendant

              in accordance with the terms of the plea agreement.


Dated: Wednesday, May 4, 2022            s/ Paul A. Magnuson
                                         Paul A. Magnuson
                                         United States District Court Judge
